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                        U NITED STATES DISTRICT CO U RT
                        SO UTH ERN DISTRICT OF FLO RIDA

                             CA SE N O .11-23614-ClV-K 1N G

 ARRIVA LSTAR S.A .and M ELVIN O
 TECHN OLOG IES LIM ITED ,

        Plaintiff,



 DIM ERCO EXPM SS (U.S.A.)
 CO RPOM TION and EX CEL CARGO
 SERVICESSIN C.,d/b/a CARIBEX
 W ORLDW ID E,IN C.,

        Defendants.
                                            /

                            FINA L O RD ER O F DISM ISSA L

        THIS CAU SE cam e on forconsideration upon theparties'N otice ofAgreem entof

  Settlement(D.E.#19)ûled February29,2012,advisingthe Courtthattheabove-styled
  case had settled. A ccordingly,aftera carefulreview ofthe record and the courtbeing

  otherwise fully advised in theprem ises,itis

        ORD ERED ,AD JUD GED and D ECREED as follow s:

         1-    The above-styled case ishereby D ISM ISSED .ThisCourtshallretain

  jurisdictiontoenforcethetermsofthesettlement.
               A 1lunresolved pending m otions in thiscase are hereby DEN IED asm oot.

         3.    The Clerk shallCLO SE thiscase.

         DON E AND O RD ERED in cham bers atthe Jam esLawrence K ing FederalJustice
Case 1:11-cv-23614-JLK Document 20 Entered on FLSD Docket 03/01/2012 Page 2 of 2



  Building and United StatesCourthouse,M iam i,Florida,this IMday ofM arch,2012.


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                                               A       S LA W REN CE KIN G g'
                                                   ITED STATESDISTRIV ZJUDGE
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